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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
              v.                    )
                                    )          No. 20-CR-10271
DAVID DEQUATTRO,                    )
            Defendant               )
                                    )
____________________________________)

     DEFENDANT DAVID DEQUATTRO’S SUPPLEMENTAL REQUESTS FOR
                    INSTRUCTIONS TO THE JURY




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                               Statute of Limitations for Count 1

       In order to return a guilty verdict on this Count, you must find the government has proven

beyond a reasonable doubt that there was an agreement to commit federal programs bribery that

continued beyond November 12, 2015 and that at least one overt act in furtherance of that

conspiracy was proven to have occurred after November 12, 2015.1 The payments made by Mr.

DeQuattro before that day are therefore, without more, insufficient to support a guilty verdict.




1
 See, e.g., Grunewald v. United States, 353 U.S. 391, 396 (1957); United States v. Stewart, 744
F.3d 17, 21 (1st Cir. 2014).

                                                 1
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                                  Conflict of Interest Not Sufficient

          A conflict of interest is not bribery.2 For that reason, even if you may believe that Mr.

DeQuattro’s donations to Mr. Cromwell during the Company’s business relationship with the

Gaming Authority created a conflict of interest, or the appearance of such a conflict, that cannot

be the basis for conviction on any count.



                                                        Respectfully Submitted,
                                                        DAVID DEQUATTRO
                                                        By His Attorney,

                                                        /s/ Martin G. Weinberg
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Dated: April 7, 2022


                                   CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, April 7, 2022, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




2
    See, e.g., Skilling v. United States, 561 U.S. 358, 410 (2010).

                                                    2
